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                                                                                       FILED
                                                                                           MAR 12 2019
                                                                                      TIMOTHY M. 0 BRIEN CLERK

                         IN THE UNITED STATES DISTRICT COURT                          By    Ct'r        Deputy

                              FOR THE DISTRICT OF KANSAS

 KC Fabrick                                           )
                                                      )
                                                      )
                                                      )
                                                      )
(Enter above the full name of the Plaintiff( s)       )
                                                      )
vs.                                                   )   CaseNumber:):/'/-c!AJ-      ;J./3{p- DDC..- JPO
                                                      )
Acumen Assessments, LLC                               )
Name                                                  )
730 New Hampshire St,Suite 222                        )
Street and number                                     )
Lawrence KS         66044                             )
City          State  Zip Code                         )

(Enter above the full name and address of the
Defendant in this action - list the name and
address of any additional defendants on the back .
side of this sheet).

                                       CIVIL COMPLAINT

I.     Parties to this civil action:

       (In item A below, place your name in the first blank and place your present .address in the
       second blank. Do the same for additional plaintiffs, if any, on an attached sheet of paper).

       A.      Name of plaintiff_K_C_F_a_b_r_ic_k_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

               Address 1 Clinton Path, Unit 1

                          Brookline, MA

                          02445




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       (In item B below, write the full name of the defendant in the first blank. In the second
       blank, write the official position of the defendant. Use item C for the names and positions
       of any additional defendants).

       B.     Defendant Scott C. Stacy, PsyD                                                       is

               employed at Acumen Assessments, LLC;730 New Hampshire St.,

               Suite 222, Lawrence             KS       66044

       c.     Additional Defendants Peter Graham, PhD;John R. Whipple, MD;

               Michael Seely, PsyD; Thomas Janousek, PsyD;

               Carly Stevenson; Forensic Truth Analysis, LLC; Kipp Low

II.    Jurisdiction:

       (Complete one or more of the following subparagraphs, A., B.l, B.2., or B.3., whichever
       is applicable.)

       A.     (If Applicable) Diversity of citizenship and amount:

               1.      Plaintiff is a citizen of the State of   Mass.

              2.       The first-named defendant above is either

                       a.      a citizen of the State of - -Kansas
                                                             - - - -; or



                       b.      a corporation incorporated under the laws of the State of
                            Kansas       and having its principal place of business in a State other
                       than the State of which plaintiff is a citizen.

              3.       The second-named defendant above is either

                       a.      a citizen of the State of - -Kansas
                                                             - - - -; or

                       b.      a corporation incorporated under the laws of the State of
                       _ _ _ _ _ _ and having its principal place of business in a State
                       other than the State of which plaintiff is a citizen.

              (If there are more than two defendants, set forth the foregoing information for

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                each additional defendant on a separate page and attach it to this complaint.)                \




                Plaintiff states that the matter in controversy exceeds, exclusive of interest and
                costs, the sum of seventy-five thousand dollars ($75,000.00).

        B.      (If applicable) Jurisdiction founded on grounds other than diversity (Check any
                of the following which apply to this case).

                        1.      This case arises under the following section of the Constitution of
                                the United States or statute of the United States (28 U.S.C. §1331):
                                Constitution, Article_ _, Section_ _ ;
                                Statute, US Code, Title_, Section_ _.

                       2.       This case arises because of violation of the civil or equal rights,
                                privileges, or immunities accorded to citizens of, or persons within
                                the jurisdiction of, the United States (28 U.S.C. §1343).

               £3.              Other grounds (specify and state any statute which gives rise to
                                such grounds):

                                 Multiple statutes In Kansas law of medical malpractice 60-515
                                 111edical-psycl 1ological 11eglige11ce,111ultiple acts of ur 1p1ofesio11al
                                 conducts in violation of multiple published standards by the Kansas
                                 Board of Healing Arts (KBHA) and Kansas Behavioral Board
                                 (l<BSRB). OFI or about 2017 01 03 to 01 06 all tne defefldaflts
                                 participated in a civil negligence and conspiracy: all signed or
                                 participated in creating of an Acumen final report, and attempts to
                                 eoAeeal,SpoliatioA of, aAd delete records. UAprofessional eonduet
                                 violation of KBSRB 102-1-10a performing unprofessional services
                                 misrepresented (a)(1 )INconsistent with training (a)(2) excercising
                                 undue influenee over a elient (B)(3) (f) ignoring elient welfare


III.    Statement of Claim:

        (State here a short and plain statement of the claim showing that plaintiff is entitled to
        relief. State what each defendant did that violated the right(s) of the plaintiff, including
        dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
        If you intend to allege more than one claim, number and set forth each claim in a separate
        paragraph. Attach an additional sheet, if necessary, to set forth a short and plain
        statement of the claim[ s].)

        On or about 2017-01-03 to 01-06 all the defendants participated in a civil conspiracy:
        they all either signed or participated in creating of an Acumen final report. They
        performed a fitness assessment of the plaintiff. This evaluation was severely
        11eglige11tly pe1io1111ed ii 1ti 1e settil 19 of loud 11oises f10111 a sewage pipe clea1iii19 above
        Acumen's office. Yet Acumen did not reschedule the entire testing or properly note
        and repeat parts of their their individual evaluation results. Some Acumen members
        who were unqualified to give instuctions or gave inadequate instructions were
        conducting testing in a negligent fashion.

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         Furthermore the defendants conspired to charge for fraudulent testing
         performed during the evaluation when unqualified staff participated improperly
         during the evaluation. The defendants engaged in unfair business practices
         displaying certifications but uncertifed staff participated in a negligent fashion
         also.


IV.     Relief:

        (State briefly exactly what judgement or relief you want from the Court. Do not make
        legal arguments.)

         lnorder for just compensation for the plaintiff's loss of income, loss of
         employment benefits, loss of professional opportunities, loss of personal and
         professional reputation, other financial losses, emotional distress and mental
         suffering a claim of 8.95 million 1s requested.



V.      Do you claim the wrongs alleged in your complaint are continuing to occur at the present
        time? Yes[./] No [ ]

VI.     Do you claim actual damages for the acts alleged in your complaint?    Yes[./]     No [ ]

VII.    Do you claim punitive monetary damages? Yes [./] No [ ]

        If you answered yes, state the amounts claimed and the reasons you claim you are
        entitled to recover money damages.

        In order for just compensation for the plaintiff's loss of income. loss of
        employment benefits, loss of professional opportunities, loss of personal and
        professional reputation, other financial losses, emotional distress and mental
        suffering a claim of 8.95 million is requested.
        The defendants have been conducting their evauations for years with no one
        standing up lo llleir 111alp1actices and fraudulaenl practices. A large punitive
        damage could have Kansas Providers and Attorneys take notice and not repeat
        the egregious occurances as outlined in this complaint.




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VIII.    Administrative Procedures:

         A.     Have the claims which you make in this civil action been presented through any
                type of Administrative Procedure within any government agency? Yes [ ] No[./]

         B.     If you answered yes, give the date your claims were prese1'ted, how they
                were presented, and the result of that procedure:




         C.     If you answered no, give the reasons, if any, why the claims made in this action
                have not been presented through Administrative Procedures:

                 Acumen Associates. LLC is out of state. and performs fitness for duty
                 evaluations.
                 I have contacted several times supervising medical boards and
                 certification agencies. These governmental agency all say they can not
                 compensate plaintiff for wrongs committed by the defendants.


IX.      Related Litigation:

         Please mark the statement that pertains to this case:

                        This cause, or a substantially equivalent complaint, was previously filed in
                        this court as case number                    · and assigned to the
                        Honorable Judge _ _ _ _ _ _ _ _ _ _ __

           ,/           Neither this cause, nor a substantially equivalent complaint, previously
                        has been filed in this court, and therefore this case may be opened as an
                        original proceeding.




                                                       Signature of Plaintiff

                                                       K.C. Fabrick
                                                       Name (Print or Type)



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                                                           1 Clinton Path, Unit 1
                                                          Address

                                                           Brookline     MA        02245
                                                          City         State      Zip Code

                                                           617-935-6490
                                                          Telephone Number


                            DESIGNATION OF PLACE OF TRIAL


Plaintiff designates OWichita. RIKansas City            or OTopeka , Kansas as the location for the
                               (check one location)
trial in this matter.


                                                          Signhture of Plaiilti


                               REQUEST FOR TRIAL BY JURY


Plaintiff requests trial by jury IZJ yes   D no .
                                  (check one)




                                                          Signature of Plaintiff

Dated: _"11)
        J-U
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          ___,___
               ./     :>
(Rev. 8/07)




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                                      Additional Information


 Acumen members negligently did not retain records properly and they were deystroyed or told they
were unavailable. For example Acumen changed the schedule about 3 times but said they could not
provide all the changed schedules and Scott C Stacy said they were completely deleted Several
members did not provide medical records in a timely fashion over 90 days. The Defendant engaged
in a pattern of intentional conduct with the intent and purpose of causing extreme emotional distress
to the Plaintiff. The Defendant's conduct was extreme, outrageous, and outside the bounds of what
can be expected in normal society both objectively and subjectively.
KBSRB 102-1-10(f)(3) behavior abusive or demeaning to the client. (D)(9) failing to properly deligate
to employees. (g)(2)failing to protect client information.



Acumen further included inaccurate or unecessary commentary that was defamatory to the Plaintiff,
and done so with Malicious intent. KBSRB 102-1-10(8)(4) fraudulaent and misleading advertising.
KBSRB 102-1-100)(7)unqualified staff amistered psychological assessment techniques.

KBSRB 102-120 Unprofessional conduct regarding recordkeeping inadequate in (b)date of service of
each providers service, (3) each service each provider provided not noted(l)(c) records not retained
deleted, or shaking Spoliation of records.
